                      UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                  3:08CV120-3-MU
                                  (3:03CR231-MU)


ENRIQUE BARRAGAN CONTRERAS, )
      Petitioner,                   )
                                    )
             v.                     )                         ORDER
                                    )
UNITED STATES OF AMERICA,           )
      Respondent.                   )
____________________________________)


       THIS MATTER is before the Court on initial review of Petitioner’s Motion to Vacate, Set

Aside, Or Correct Sentence under 28 U.S.C. § 2255 (Doc. No. 1 ) filed March 19, 2008. For the

reasons stated herein, Petitioner’s Motion to Vacate will be denied and dismissed.

                                  I. PROCEDURAL HISTORY

       The record reveals that on June 13, 2006 Petitioner, Enrique Barragan Contreras, pled guilty

conspiracy to possess with intent to distribute five kilograms or more of cocaine and 100 kilograms

or more of marijuana in violation of 21 U.S.C.§§ 841 and 846.1

       On July 7, 2005, Petitioner appeared before Magistrate Judge Carl Horn for a Plea and Rule

11 Hearing. At that time, the Court engaged Petitioner in a lengthy colloquy to ensure that his guilty

plea was being tendered intelligently, knowingly, and voluntarily. The Court outlined the charges

as set forth in the Indictment. Petitioner confirmed that he had discussed these charges with his

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        Count Five, possession with intent to distribute cocaine in violation of 21 U.S.C. § 841
and 18 U.S.C. § 2, count seven, using and carrying one or more firearms in violation of 18
U.S.C. § 924(c)(1) and count eight, possession with intent to distribute cocaine base in violation
of 21 U.S.C. § 841, were dismissed at sentencing.

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attorney and that he understood them. (Transcript of Plea and Rule 11 Hearing at 3-5.) The Court

then patiently answered many of Petitioner’s questions regarding his guilty plea. (Id. at 6-12.) The

Court asked counsel for the Government to summarize the terms of the plea agreement. Counsel for

the Government explained the essential terms including that Petitioner stipulated that he possessed

a dangerous weapon in connection with the offense contained in Count One of the Indictment. (Id.

at 14-15.) The Court then asked Petitioner if he understood the terms of the Plea Agreement as

explained by Government counsel and if he agreed with such terms. Petitioner stated that he

understood and agreed. (Id. at 17.) Government counsel also reviewed the potential punishment

that the Petitioner faced explaining that Petitioner faced a minimum mandatory sentence of ten years

in prison and a maximum of life as a result of his guilty plea. (Id. at 15.) The Court then asked the

Petitioner if that was his understanding of the punishment for the charges to which he was pleading.

Petitioner responded in the affirmative to the Court’s question. (Id. at 17.)     The Court explained

to the Petitioner that he had the right to plead not guilty and if Petitioner chose to plead not guilty,

he would have the right to a trial by jury as well as numerous trial rights. (Id. at 13-14.) Petitioner

stated that he understood these rights and that he chose to plead guilty and told the Court he was

pleading guilty because he was, in fact, guilty of the crime charged in the Indictment. (Id. at 14.)

Petitioner also told the Court that he had not been coerced into pleading guilty and stated that he had

no other questions. (Id. 18-19.) Petitioner also confirmed that he was satisfied with the

representation of his attorney. (Id. at 18.) The Court then accepted Petitioner’s plea, finding that

it was freely and voluntarily made and that Petitioner had an understanding of the nature of the

charges and the consequences of his plea. (Id. at 20.)

        On May 24, 20066, Petitioner appeared before this Court for sentencing. The Court accepted


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Petitioner’s plea finding that it was knowingly and voluntarily made, with an understanding of the

charges, potential penalties and the consequences of the plea. (Sentencing Transcript at 3-4.)

Petitioner acknowledged that he had received a copy of his Presentence Report (PRS) and that he

had reviewed and discussed it with his attorney. (Sentencing Transcript at 4.) The Court found that

the PSR furnished a factual basis for the plea and allowed counsel to argue regarding the drug

quantity. The Court accepted and adopted the findings and calculations contained in the PSR and

sentenced Petitioner to 168 months imprisonment and five years of supervised release. (Id. at 27.)

       Petitioner appealed his sentence and conviction to the Fourth Circuit Court of Appeals.

Petitioner’s counsel filed a brief pursuant to Anders v. California, 386 U.S. 738 (1967), stating that

there were no meritorious issues for appeal but raising the question of whether Petitioner’s motion

to substitute counsel was properly denied. Petitioner filed a pro se supplemental brief raising the

following issues: (1) whether the search of his home was proper, (2) whether his sentence was

properly enhanced for possession of a firearm, and (3) whether the district court correctly calculated

the amount of marijuana attributable to him. The Fourth Circuit affirmed Petitioner’s conviction and

sentence in an unpublished decision on December 19, 2006. Petitioner did not file a petition for

certiorari with the United States Supreme Court.

       On March 19, 2008 Petitioner filed the instant Motion to Vacate alleging that his counsel was

ineffective for (1) failing to argue during plea negotiations, during his Plea and Rue 11 Hearing and

at Sentencing that he had no knowledge that his wife or co-defendant possessed firearms until after

the fact; (2) failing to object to the two-level gun enhancement on the grounds that there was

insufficient evidence of constructive possession to support the enhancement and (3) failing to argue

for application of the safety valve.


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                                           II. ANALYSIS

       A. INEFFECTIVE ASSISTANCE OF COUNSEL

       Petitioner claims that his counsel was ineffective for several reasons. First, Petitioner

contends that counsel was ineffective in failing to argue that he had no knowledge that his wife and

co-defendant possessed firearms until after the fact. Next, Petitioner alleges that his counsel was

ineffective in failing to object to the two-level gun enhancement on the grounds that there was

insufficient evidence of constructive possession to support the enhancement. Finally, Petitioner

contends that counsel was ineffective in failing to argue at sentencing that Petitioner was eligible for

the safety valve.

       With respect to claims of ineffective assistance of counsel, a petitioner must show that

counsel’s performance was constitutionally deficient to the extent that it fell below an objective

standard of reasonableness, and that he was prejudiced thereby. Strickland v. Washington, 466 U.S.

687-91 (1984). In making this determination, there is a strong presumption that counsel’s conduct

was within the wide range of reasonable professional assistance. Id. at 689; see also Fields v.

Attorney Gen. Of Md., 956 F.2d 1290, 1297-99 (4th Cir.1992).

       Under these circumstances, the petitioner “bears the burden of proving Strickland prejudice.”

Fields, 956 F.2d at 1297, citing Hutchins, 724 F.2d at 1430-31. If the petitioner fails to meet this

burden, a reviewing court need not consider the performance prong.” Fields, 956 F.2d at 1290,

citing, Strickland, 466 U.S. at 697.

       Furthermore, in considering the prejudice prong of the analysis, the Court must not grant

relief solely because the petitioner can show that, but for counsel’s performance, the outcome would

have been different. Sexton v. French, 163 F.3d 874, 882 (4th Cir. 1998), cert. denied, 528 U.S. 855


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(1999). Rather, the Court “can only grant relief under ... Strickland if the ‘result of the proceeding

was fundamentally unfair or unreliable.’” Id., quoting Lockhart v. Fretwell, 506 U.S. 364 U.S. 364,

369 (1993).

        More critically here, a petitioner who alleges ineffective assistance of counsel following

entry of a guilty plea has an ever higher burden to meet. See Hill v. Lockhart, 474 U.S. at 53-57;

Fields, 956 F.2d at 1294-99; and Hooper v. Garraghty, 845 F.2d 471, 475 (4th Cir.), cert. denied, 488

U.S. 843 (1988). The Fourth Circuit described the petitioner’s additional burden in a post-guilty plea

of ineffective assistance of counsel as follows:

        When a [petitioner] challenges a conviction entered after a guilty plea, [the] “prejudice prong
        of the [Strickland] test is slightly modified. Such a defendant must show that, but for
        counsel’s errors, he would not have pleaded guilty and would have insisted on going to trial.”

Hooper, 845 F.2d at 475; accord Hill, 474 U.S. at 59; and Fields, 956 F.2d at 1297.

        In evaluating post-guilty plea claims of ineffective assistance, statements previously made

under oath affirming satisfaction with counsel are deemed binding in the absence of “clear and

convincing evidence to the contrary.” Fields, 956 F.2d at 1299, citing Blackledge v. Allison, 431

U.S. 63, 74-75 (1977). Moreover, statements made during Rule 11 proceedings constitute strong

evidence of the voluntariness of a defendant’s plea. United States v. DeFusco, 949 F.2d 114, 119

(4th Cir. 1991).

        A presumption exists that counsel is competent. A defendant seeking post-conviction relief

bears a heavy burden to overcome this presumption. And the presumption is not overcome by

conclusory allegations. Carpenter v. United States, 720 F.2d 546 (8th Cir. 1983). Indeed, the

defendant bears an even heavier burden where, as here, the claim of ineffective assistance of counsel

follows the entry of a guilty plea.


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       Turning to Petitioner’s claims that his attorney was ineffective for failing to argue that

Petitioner had no knowledge that his wife or co-defendant possessed firearms, for failing to object

to the two-level enhancement for the gun enhancement and failure to argue for the applicability of

the safety valve, the record simply does not support any of Petitioner’s arguments.

       First, Petitioner does not argue that but for counsel’s alleged errors, he would not have pled

guilty and would have insisted on going to trial. Therefore, Petitioner’s claims against counsel fail

for this reason. Moreover, a review of the Plea Agreement reveals that Petitioner specifically

stipulated to a dangerous weapon enhancement pursuant to § 2D1.1(b)(1) which increased his base

offense level by two levels. (See Plea Agreement ¶ 7(b).) Such stipulation was negotiated by

counsel in exchange for a dismissal of the firearm charge contained in Count Five of the Indictment.2

Given the stipulation to the gun enhancement, there would have been no logical reason for counsel

to argue that Petitioner was not aware that his wife and co-defendant possessed firearms or for

counsel to object to the gun enhancement.         Furthermore, the stipulation regarding the gun

enhancement precluded Petitioner from eligibility for the safety valve.3 4 Petitioner agreed to all of


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         The Court notes that a conviction of Count Five would have increased his sentence by a
mandatory additional five-years consecutive. Although Petitioner argues that his sentence was
increased by thirty-three months as a result of the two-level increase due to the dangerous
weapon enhancement, that is still twenty-seven less months than he would have received if
convicted of the § 924(c) Count.
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          The safety valve provision of 18 U.S.C. §3553(f) permits a district court to impose a
Guidelines sentence below the applicable statutory minimum if the court finds that the defendant
meets certain criteria. To be eligible for sentencing under the safety valve a defendant must meet
the following five statutory requirements: (1) the defendant has no more than one criminal
history point, (2) the defendant did not use violence or credible threats of violence or possess a
firearm in connection with the offense, (3) the offense did not result in death or serious bodily
injury, (4) the defendant was not an organizer or leader of others in this offense, and (5) the
defendant provided truthful information to the Government concerning the crime. See 18 U.S.C.
§ 3553(f); U.S.S.G. § 5C1.2. The burden is on the defendant to prove that he has meet all five

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the terms of the plea agreement and does not now contest his guilty plea. Petitioner’s claims that

counsel was ineffective are contradicted by the terms of his plea agreement and are therefore denied

and dismissed.

                                            III. ORDER

       THEREFORE, IT IS HEREBY ORDERED that:

       (1)       Petitioner IFP application (contained within Motion to Vacate) is denied as moot

                 since there is no filing fee for a Motion to Vacate; and

       (2)       Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence is DENIED and

                 DISMISSED. (Document No.1).




safety valve requirements. See United States v. Beltran-Ortiz, 91 F.3d 665, 669 (4th Cir. 1996);
see also, United States v. Ivester, 75 F.3d 182, 184-85 (4th Cir. 1996) (holding that it is not
sufficient that a defendant stands ready to disclose fully if the Government were to approach him
to seek information; the plain language of the safety valve provision requires that a defendant
must demonstrate that he has fully and truthfully disclosed even if he has never been approached
by the Government), cert. denied, 518 U.S. 1011 (1996).

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         The Court notes that notwithstanding the stipulation regarding the dangerous weapon
enhancement, Petitioner likely would have also been precluded from receiving the benefit of he
safety valve because evidence suggested he did function in a managerial role in the conspiracy
(Sentencing Transcript at 6), and because he was unwilling to cooperate with the Government
(Plea and Rule 11 Hearing Transcript at 5.) The Court does note that Petitioner did not receive
an enhancement for being a leader or organizer because the parties agreed pursuant to the plea
agreement that no enhancements, other than those specifically enumerated in the Plea
Agreement, would apply.

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SO ORDERED.



                                   Signed: April 1, 2008




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